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ERIC STEINMETZ

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                          :
ERIC STEINMETZ,                           :
                                            Civil Action No.: ______
                                          :
                    Plaintiff,            :
      v.                                  :
                                          :
FMMR INVESTMENTS, INC. D/B/A              :
                                            COMPLAINT
RAPID CASH,                               :
                                          :
                    Defendant.            :
                                          :

      For this Complaint, the Plaintiff, ERIC STEINMETZ, by undersigned

counsel, states as follows:


                                 JURISDICTION

      1.     This action arises out of Defendant’s violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,

knowingly, and/or willfully placing automated calls to Plaintiff’s cellular phone
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without consent, thereby violating the TCPA.

      1.     This action also arises out of Defendant’s violations of Nevada

Revised Statutes Chapter 604A.010 et seq. (“NRS 604A”), and the harassment of

Plaintiff by the Defendant and its agents in their illegal efforts to collect a high-

interest loan as defined under this Chapter.

      2.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      3.     Defendants have through their conduct in collecting a loan governed

by NRS 604A violated NRS 604A.415.

      4.     Defendant FMMR INVESTMENTS, INC. dba RAPID CASH dba

SPEEDY CASH is a “licensee” as that term is defined by NRS 604A.

      5.     NRS 604A.415 incorporates the Fair Debt Collection Practices Act

(FDCPA), as amended, 15 U.S.C. §§ 1692a to 1692j, which applies herein “even if

the licensee is not otherwise subject to the provisions of the [FDCPA].”

      6.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims pursuant to 28 U.S.C.

§ 1331. Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740 (2012).

      7.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of
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the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                      PARTIES
      8.      The Plaintiff, ERIC STEINMETZ (“Plaintiff” or “Mr. Steinmetz”), is

an adult individual residing in Las Vegas, Nevada.

      9.      Plaintiff is, and at all times mentioned herein was, a “person” as

defined by 47 U.S.C. § 153(39).

      10.     Defendant FMMR INVESTMENTS, INC. dba RAPID CASH

(“Defendant” or “RAPID CASH”), is doing business in the State of Nevada with a

place of business located at 4343 N. Rancho Drive, Suite 150, Las Vegas, NV

89130 and is licensed with the State of Nevada, Department of Business &

Industry Financial Institutions Division, as license No. CDTH10326.

      11.     Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

      12.     RAPID CASH at all times acted by and through one or more of the

Collectors.

              ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt

      13.     Plaintiff allegedly incurred a financial obligation (the “Debt”) to

Rapid Cash (the “Creditor”).
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      14.    The Debt was a “high-interest loan” as defined by NRS 604A.0703.

      15.    NRS 604A.415 provides that:

             If a customer defaults on a loan, the licensee may collect
             the debt owed to the licensee only in a professional, fair
             and lawful manner. When collecting such a debt, the
             licensee must act in accordance with and must not violate
             sections 803 to 812, inclusive, of the federal Fair Debt
             Collection Practices Act, as amended, 15 U.S.C. §§
             1692a to 1692j, inclusive, even if the licensee is not
             otherwise subject to the provisions of that Act.

      16.    As such, a violation of the Fair Debt Collection Practices Act

(FDCPA) a though j is also a violation of NRS 604A.415.

B. RAPID CASH Engages in Harassment and Abusive Tactics

                                      FACTS

      17.    Struggling to meet his financial obligations, in 2014 Mr. Steinmetz

made a mistake he would soon regret when he applied for and received a high

interest loan from the Defendant (the “Debt”).

      18.    Over the course of several years, Mr. Steinmetz faithfully repaid his

loan with RAPID CASH, which RAPID CASH would then renew and Mr.

Steinmetz would continue to repay.

      19.   However, in April 2016 Mr. Steinmetz found himself struggling to

repay all his household bills as they came due.

      20.   Mr. Steinmetz then consulted with and subsequently hired a

bankruptcy attorney.
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        21.   Thereafter, Mr. Steinmetz, now in contemplation of filing Chapter 13

Bankruptcy, ceased payments to his creditors, including RAPID CASH.

        22.   Accordingly, Mr. Steinmetz defaulted on the Debt.

        23.   On April 13, 2016 at 3:15 p.m., Plaintiff called the Defendant and

spoke with a RAPID CASH representative (the “April 13, 2016 Call”). During this

call the Plaintiff advised RAPID CASH to cease all further communications to him

regarding the debt as to cease any further calls to his cell phone.

        24.   The RAPID CASH representative directed Plaintiff to call

Defendant’s Recovery and Inventory department at phone number 1-877-211-

0217.

        25.   On April 14, 2016 at 12:47pm Plaintiff attempted to call Defendant’s

Recovery and Inventory department at phone number 1-877-211-0217. However, a

RAPID CASH representative did not answer the call and the call went to

voicemail, where Plaintiff was unable to leave a message due to an error with

Defendant’s voicemail system.

        26.   Accordingly, on April 14, 2016 at 5:45 pm Plaintiff sent a written

cease and desist demand (via email and fax) to the Defendant formally revoking

RAPID CASH’s “right” (to the extent it had a right) to communication with the

Plaintiff about the Debt (the “C&D Request”).

        27.   The C&D Request further advised RAPID CASH that the Plaintiff
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retained a lawyer and directed RAPID CASH that further communication

regarding the Debt was to be sent to Plaintiff’s lawyer.

      28.    RAPID CASH received the C&D Request.

      29.    Notwithstanding the foregoing, RAPID CASH persisted in debt

collection communications directly with the Plaintiff on a near-daily basis.

      30.    Specifically, RAPID CASH continued placing automated phone calls

and other collection communications despite his efforts to restrict RAPID CASH’s

collection communications.

      31.    In specific, the Plaintiff documented (at least) the following illegal

communications from RAPID CASH:

            a. On April 18, 2016, at 10:10am Plaintiff received a phone call from
               Defendant on his cell phone from 702-266-9488 (a RAPID CASH
               identifier). A RAPID CASH representative named “Heidi” left a
               thirty-three second automated voicemail which gave a phone
               number of 800-856-2911 for Plaintiff to contact.

            b. On April 18, 2016, at 10:51am Plaintiff received a phone call from
               Defendant on his cell phone from 702-266-9488 (a RAPID CASH
               identifier). Defendant hung up and did not leave a message. This
               was the second time Plaintiff was contacted by Defendant that day.

            c. On April 20, 2016, at 8:51am Plaintiff received a phone call from
               Defendant on his cell phone from 702-266-9488 (a RAPID CASH
               identifier). Defendant hung up and did not leave a message.

            d. On April 20, 2016, at 9:28am Plaintiff received a phone call from
               Defendant on his cell phone from 702-266-9488 (a RAPID CASH
               identifier). Defendant hung up and did not leave a message. This
               was the second time Plaintiff was contacted by Defendant that day.
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     e. On April 21, 2016, at 2:59pm Plaintiff received a phone call from
        Defendant on his cell phone from 702-266-9488 (a RAPID CASH
        identifier). Defendant hung up and did not leave a message.

     f. On April 21, 2016, at 7:31pm Plaintiff received a phone call from
        Defendant on his cell phone from 702-266-9488 (a RAPID CASH
        identifier). A RAPID CASH representative named “Heidi” left a
        thirty-three second automated voicemail which gave a phone
        number of 800-856-2911 for Plaintiff to contact. This was the
        second time Plaintiff was contacted by Defendant that day.

     g. On April 22, 2016, at 2:45pm Plaintiff received a phone call from
        Defendant on his cell phone from 702-266-9488 (a RAPID CASH
        identifier). Defendant hung up and did not leave a message.

     h. On April 22, 2016, at 4:38pm Plaintiff received a phone call from
        Defendant on his cell phone from 702-266-9488 (a RAPID CASH
        identifier). A RAPID CASH representative named “Heidi” left a
        thirty-three second automated voicemail which gave a phone
        number of 800-856-2911 for Plaintiff to contact.

     i. On April 22, 2016, at 5:06pm Plaintiff received a phone call from
        Defendant on his cell phone from 702-266-9488 (a RAPID CASH
        identifier). A RAPID CASH representative named “Heidi” left a
        thirty-three second automated voicemail which gave a phone
        number of 800-856-2911 for Plaintiff to contact. This was the third
        time Plaintiff was contacted by Defendant that day.

     j. On April 23, 2016, at 10:34am Plaintiff received a phone call from
        Defendant on his cell phone from 702-266-9488 (a RAPID CASH
        identifier). A RAPID CASH representative named “Heidi” left a
        thirty-three second automated voicemail which gave a phone
        number of 800-856-2911 for Plaintiff to contact.

     k. On April 23, 2016, at 4:37pm Plaintiff received a phone call from
        Defendant on his cell phone from 702-266-9488 (a RAPID CASH
        identifier). Defendant hung up and did not leave a message. This
        was the second time Plaintiff was contacted by Defendant that day.

     l. On April 25, 2016, at 4:27pm Plaintiff received a phone call from
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              Defendant on his cell phone from 702-266-9488 (a RAPID CASH
              identifier). Defendant hung up and did not leave a message.

       32.   Between April 18, 2016 and April 25, 2016, Plaintiff was called

twelve times by Defendant to collect the Debt.

       33.   Plaintiff was contacted nearly every day (often multiple times in a

single day) after the loan was in default and, after, the Defendant was placed on

notice (through – at least – the C&D Request and his verbal demands) that he

revoked permission to communicate with him about the Debt and instructed

Defendant to contact his counsel.

       34.   Based on RAPID CASH’s forgoing conduct, it appears a certainty that

the Plaintiff will continue enduring illegal debt collection conduct and this lawsuit

results.

C. Plaintiff Suffered Actual Damages

       35.   The Plaintiff has suffered and continues to suffer actual damages as a

result of RAPID CASH’s unlawful conduct.

       36.   Further, Plaintiff alleges that Defendants actions at all times herein

were “willful.”

       37.   As a direct consequence of Defendant’s harassing phone calls, acts,

practices and conduct, the Plaintiff suffered and continues to suffer from anger,

anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart

palpitations, and has otherwise been totally annoyed by Defendant’s intrusive and
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illegal collection efforts. Plaintiff has also lost the use of personal and family time

while enduring these frustrations.

      38.    Plaintiff has also contemplated filing bankruptcy as a result of

Defendant’s illegal conduct to stop harassing calls in the future.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      39.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      40.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      41.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)    to dial such numbers.
      42.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.

      43.    According to findings by the Federal Communications Commission

(“FCC”), such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls. The
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FCC also recognized that wireless customers are charged for incoming calls. 1

       44.    On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf of a creditor, are permitted only if the calls are made with the “prior

express consent” of the called party. 2

       45.    On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC 3 stated that “[a] caller may not limit the manner in which revocation [of prior

express consent to call] may occur” and that the “burden is on the caller to prove it

obtained the necessary prior express consent”. Id. at ¶ 30.

       46.    Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id. at ¶ 47.

       47.    Nothing in the language of the TCPA or its legislative history

supports the notion that Congress intended to override a consumer’s common law

right to revoke consent. Id. at ¶ 58.




1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
  See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
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      48.      Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id. at ¶ 61.

      49.      Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id. at ¶ 64.

            ALLEGATIONS APPLICABLE TO ALL TCPA COUNTS
      50.      Within the four years prior to filing the instant complaint, the Plaintiff

received numerous calls from the Defendant from the following phone number: (702)

266-9488.

      51.      Upon information and belief, Defendant employs an automatic

telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).

      52.      Defendant or its agent/s contacted Plaintiff on Plaintiff’s cellular

telephone number ending in “9603” via an ATDS as defined by 47 U.S.C. §

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A). Specifically, there were slight

pauses before each call connected.

      53.      On or about April 14, 2016, Plaintiff instructed Defendant or its agent(s)

not to call the Plaintiff’s cell phone ever again thereby revoking consent, if any ever

existed, to be contacted by Defendant via an ATDS.

      54.      Moreover, Defendant did not have prior express consent to place any
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automated or prerecorded calls to Plaintiff on Plaintiff’s cellular telephone at any

time.

        55.   However, Defendant placed calls to the Plaintiff’s cellular telephone

without consent using an ATDS in violation of the TCPA.

        56.   Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

        57.   The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

        58.   Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

        59.   Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling,

the burden is on Defendant to demonstrate that it had prior express consent to call

Plaintiff’s cellular phone with an ATDS.

        60.   The Plaintiff suffered actual harm and loss, since the unwanted calls

depleted the Plaintiff’s cell phone’s battery, and the cost of electricity to recharge the

phone is a tangible harm. While small, this cost is a real one, and the cumulative

effect can be consequential, just as is true for exposure to X-rays resulting from the

Defendant’s unwanted phone calls to the Plaintiff’s cell phone.

        61.   Plaintiff also suffered from an invasion of a legally protected interest by
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placing calls to the Plaintiff’s personal phone line when the Defendant had no right to

do so, resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects

consumers from this precise behavior.

      62.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      63.    Plaintiff was also personally affected, since the Plaintiff felt that the

Plaintiff’s privacy had been invaded when the Defendant placed calls to the

Plaintiff’s phone line without any consent to do so.

      64.    The injury suffered by Plaintiff is concrete because Defendant’s

violations caused Plaintiff to suffer an invasion of privacy.

                                       COUNT I

                             Violations of the FDCPA
                     (as incorporated through NRS 604A.415)

      65.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      66.    Any violation of 15 U.S.C. §§ 1692a through j constitutes a violation

of NRS 604A.415.

      67.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(2) in that

Defendant contacted the Plaintiff after it knew Plaintiff was represented by an

attorney.
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      68.    The Defendants’ conduct violated 15 U.S.C. § 1692c(c) in that

Defendant engaged in communication with the Plaintiff after written notification

that the Plaintiff refuses to pay the Debt, or that the Plaintiff requested the

Defendant to cease communication with the Plaintiff.

      69.    The Defendants’ conduct violated 15 U.S.C. § 1692d in that

Defendants engaged in behavior the natural consequence of which was to harass,

oppress, or abuse the Plaintiff in connection with the collection of a debt.

      70.    The Defendants’ conduct violated 15 U.S.C. § 1692e in that

Defendants engaged in false, deceptive or misleading behavior in connection with

the collection of a debt.

      71.    The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that

Defendants threatened to take action against the Plaintiff which it could not legally

take or did not intend to take in collection of a debt. Specifically, by continuing

collection action against the Plaintiff when such rights were restricted through the

Plaintiff’s oral demands and the C&D Request.

      72.    The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed various false representations and deceptive means to collect

a debt.

      73.    The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that

Defendants communications with Plaintiff failed to include a “mini-Miranda”
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warning, “This is an attempt to collect a debt” and/or that the “communication is

from a debt collector”.

      74.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that

Defendants used unfair and unconscionable means to collect a debt and attempted

to humiliate and belittle Plaintiff.

      75.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA (and therefore also constitute

violations of NRS 604A.415), including every one of the above-cited provisions.

      76.     The Plaintiff is entitled to damages as a result of Defendants’

violations.

      77.     The Plaintiff has been required to retain the undersigned as counsel to

protect the Plaintiff’s legal rights to prosecute this cause of action, and is therefore

entitled to an award or reasonable attorneys’ fees plus costs incurred.

                                       COUNT II

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

      78.     Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      79.     Defendant negligently placed multiple automated calls to cellular

numbers belonging to Plaintiff without Plaintiff’s prior express consent.
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      80.    Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

      81.    As a result of Defendant’s negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      82.    Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                    COUNT III

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                           (47 U.S.C. § 227, et seq.)

      83.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      84.    Defendant knowingly and/or willfully placed multiple automated calls

to cellular numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      85.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      86.    As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).
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      87.      Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.

                               PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants awarding the Plaintiff:

      1. for consequential damages pursuant to NRS 604A.930 against each and

            every Defendant for Plaintiff;

      2. for statutory damages pursuant to NRS 604A.930 against each and every

            Defendant for Plaintiff;

      3. for an award of actual damages pursuant to NRS 604A.930 against each

            and every Defendant for Plaintiff;

      4. for an award of punitive damages pursuant to NRS 604A.930 against each

            and every Defendant for Plaintiff;

      5. for an award of costs of litigation and reasonable attorney’s fees pursuant

            to NRS 604A.930 against each and every Defendant for Plaintiff;

      6. “void” the Debt, bar Defendant from collecting thereon, and compel the

            Defendant to turnover any principal, interest or other charges or fees

            collected on the Debt pursuant to NRS 604A.900(1).

      7. Two (2) times any actual damages pursuant to NRS 41.1395;
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     8. Injunctive relief prohibiting such violations of the TCPA by Defendant in

        the future;

     9. Statutory damages of $500.00 for each and every call in violation of the

        TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

     10. Treble damages of up to $1,500.00 for each and every call in violation of

        the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

     11. any other legal or equitable relief that the court deems appropriate.

            TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: June 13, 2016

                                       Respectfully submitted,

                                       By /s/ David H. Krieger, Esq.

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